
Green, J.
delivered the opinion of the court.
We find it impossible to sustain the decree of his Honor, the chancellor, in this case.
This bill is filed to enjoin part of the judgment at law, as usurious. The former bill between the parties, also set up the usury in this transaction, as one of the grounds for relief. The decree in that suit, was a bar to the relief now sought.
*271But in this case, the complainants, who are sureties, do not allege that there was any usury in the original transaction, as of their knowledge: but they say, they have been informed there was usury. In swearing to the bill, therefore, they only swear that they have received this information.
The answer expressly denies the usury. It is proved by one witness only, the principal debtor. This is not sufficient. If where a bill is sworn to, the rule, that two witnesses are required to over-turn the denial of an answer, does not apply, still, this is not a case for dispensing with the rule. Here, the complainants are informed of a fact, by the principal debtor; swear they were so informed; and prove the fact by him. This the defendant denies. There is, therefore, only oath against oath.
Reverse the decree, and dismiss the bill.
